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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                 No. 4:08CR00081-03 JLH

GILDARDO RODRIGUEZ


                                            ORDER

       Ijeoma I. Opara has filed a motion to enter appearance as attorney of record for Gildardo

Rodriguez. Document #49. In addition to seeking to enter an appearance, the motion requests that

Rick Holiman, who was previously appointed to represent Rodriguez, continue to represent him as

co-counsel with Opara. However, the Court ordinarily does not appoint a lawyer to represent a

defendant who has retained counsel and will not do so in this case. If Rodriguez wishes to retain

Holiman in addition to Opara, he may do so, but Holiman will not be appointed to assist Opara.

       The motion to enter appearance is GRANTED. Ijeoma I. Opara is hereby entered of record

as the attorney for Gildardo Rodriguez. Rick Holiman is hereby discharged.

       IT IS SO ORDERED this 16th day of May, 2008.




                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
